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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :       Case No.: 21-CR-669 (TJK)
KIM MICHAEL SORGENTE,                         :
                                              :
               Defendant.                     :

                            MOTION TO DISMISS COUNT FOUR

       The United States, by and through its attorney, the United States Attorney for the District of

Columbia, respectfully submits this motion to dismiss Count Four (Obstruction of an Official

Proceeding in violation of 18 U.S.C. § 1512(c)(2)) of the Superseding Indictment.                The

government is moving to dismiss Count Four in the interest of justice.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      By:     _/s/ Shalin Nohria
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